
PER CURIAM.
This is an interlocutory appeal by the former wife of appellee from an order of the circuit court terminating alimony payments as provided for in the final decree of divorce and substituting therefor a lump sum award.
It is appellant’s contention that the court committed reversible error in ordering modification of the final judgment.
Upon consideration of the record and the applicable law, we have concluded that there was sufficient evidence of changed circumstances to support the order appealed, and it has not been made to appear that the court abuséd its broad discretionary power to amend or alter awards for alimony. § 61.14 Fla.Stat.F.S.A.; Nixon v. Nixon, Fla.App.1967, 200 So.2d 263.
Affirmed.
